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       Brian P. Kemp                                                                                   Chris Harvey
    SECRETARY OF STATE                                                                           DIRECTOR OF ELECTIONS

                                                      August 1, 2018

Dear County Commissioners and Officials,

I am writing to you as the State of Georgia's Elections Director, a position I have held since July
2015. From August 2007 until July 2015, I was the Chief Investigator and Deputy Inspector
General for the Secretary of State's office, investigating, among other items, potential violations
of state election law. For over a decade, it has been my job to be intimately familiar with both
Georgia election law, systems, processes, and procedures.

Before joining the Secretary of State's office, I was the Director of the Cold Case Homicide Unit
with the Fulton County District Attorney's office where I investigated previously unsolved
homicides. Prior to that role, I was the Chief Investigator with the DeKalb County District
Attorney's Office where I led investigations in all crimes, including public corruption. Over my
career in law enforcement, it has been my intention to serve Georgia by promoting public safety,
security and fidelity to the law.

Throughout my tenure at the Secretary of State's office, election security has been a top priority
for me personally, as it is for the entire Secretary of State's office and county election officials.
Now more than ever, and especially since the election of 2016, voting security is featuring more
prominently as a topic of national conversation. However, it has been a way of life in the Secretary
of State's office for far longer. I write to you today to explain some of the protections that we,
along with county election officials, have in place to ensure that Georgia's elections are secure and
ask for your assistance in continuing to ensure secure elections in our state.

Elections in Georgia are a partnership between the state and the counties. County election officials
run elections while the Secretary of State's office maintains the voter registration database and
provides support to the counties. We work with your county election officials every day, and these
hard-working public servants are truly the linchpin of our democracy.

Long before the public spotlight turned to the realm of elections, we recognized the real threat of
people and entities - both foreign and domestic — seeking to interfere with our electoral process.
To combat this threat, we work with federal, state, local, and private sector partners every day, and
we are continually adding additional levels of both cyber and physical security to Georgia's
election system. It is our duty to provide Georgians with the opportunity to vote on a secure and
reliable voting system, which we regularly test to ensure ongoing compliance with state law and
State Election Board rules.


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Georgia's election system consists of many components, including the voter registration system,
election management system, voting machines., and election night reporting website. Strict security
mechanisms surround each component. These safeguards include, but are not limited to, frequent
password changes, brute force and inactivity account disabling, and two-factor authentication.
Many people are pleasantly surprised to hear that Georgia builds its encrypted ballot databases on
machines which are never connected to the interneta safeguard which many other states have
not yet implemented. We also deploy cyberseeurity protections, secure anned transport of election
materials, and physical security for our voting machines. Your county election officials are familiar
with these processes and treat them with the utmost importance.

Recently, some county boards have received communications from parties who filed a federal
lawsuit against Georgia to stop the use of voting machines — Direct Recording Electronic (DRE)
equipment — and demand hand-counted paper ballots. In these communications to you, they
mistakenly cite a state law which was superseded by a newer law for the assertion that counties
can unilaterally elect to stop using DRE voting equipment. Their assertion is not an accurate
statement of Georgia law.

In 2003, Georgia moved to a state-wide, unified system. O.C.G.A. § 21-2-300 (a) states, "Provided
that the General Assembly specifically appropriates funding to the Secretary of State to implement
this subsection, the equipment used for casting and counting votes in county, state, and federal
elections shall, by the July, 2004, primary election and afterwards, be the same in each county in
this state and shall be provided to each county by the state, as determined by the Secretary of
State." Further. O.C.G.A. § 21-2-381 requires absentee in-person ballots (early voting) to be on a
DRE and O.C.G.A. § 21-2-379.7, which requires at least one DRE unit accessible to handicapped
voters to be placed in each precinct, and State Election Board rules align with both of these
statutes.

There are some who believe that because the current DRE machines are fully electronic, there is
no way to verify that voter selections match the vote count's output. This belief is not true. There
are numerous ways to ensure that our voting machines are accurately counting votes, and election
officials test and demonstrate the accuracy of these machines through logic and accuracy testing
before every single use. Last year, the state also conducted a re-examination of the voting machines
to ensure accuracy. In each of the three selected counties, each machine's output exactly matched
its input on simulated election day conditions. Furthermore, on election days in 2018, the Secretary
of State's office conducts parallel testing, which means we take an actual county's ballot database
and run a mock election to ensure that output matches the ballot selections. In each instance, the
machine's output has exactly matched the selections. We have never taken accuracy for granted.
It is constantly tested and re-tested.

There is a provision of Georgia law that allows the state to move to paper ballots in the event that
the machines are "inoperable or unsafe." If we ever reach a point where our office feels that these
machines cannot be trusted to accurately deliver election results, we will invoke this statutory
provision. To this day, there is no credible evidence that our election process is anything except
secure and accurate.




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While we are confident in the integrity of our elections, we remain vigilant and committed to
ensuring that the confidence of Georgia voters in their elections and government is well-
deserved. The Secretary of State's commitment to constant vigilance is why we have supported
move towards a new voting system to replace the current, aging system in a responsible fashion.
This year, Secretary Kemp appointed the bi-partisan Secure, Accessible, and Fair Elections
(SAFE) Commission, which consists of numerous county election officials, legislators, election
law experts, a cybersecurity expert, and an accessibility expert. The SAFE Commission, working
with our office, will present recommendations to the General Assembly by this January on how to
responsibly move to a new system.

As county officials, we recognize the role that you play in keeping our system secure and
accurate. The Secretary of State's Office values our county partners who work hand-in-hand with
county elections boards and officials to run Georgia's elections. Thank you for your continued
support and dedication to secure elections in Georgia. Please feel free to contact me directly with
any questions.

Sincerely,




Chris Harve

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